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                           IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO


VERNITA ANN SCOTT,

                 Plaintiff,

        vs.                                                           Civ. No. 15-1128 MV/KK

UNITED STATES OF AMERICA,

                 Defendant.


                 ORDER SETTING RULE 16 SETTLEMENT CONFERENCE

        In an effort to facilitate a final disposition of this case, a mandatory settlement conference

will be conducted in accordance with Federal Rule of Civil Procedure 16(a)(5) on Tuesday,

March 6, 2018, at 9:30 a.m., at the Pete V. Domenici United States Courthouse, 560 Cimarron

Courtroom, Fifth Floor, 333 Lomas Boulevard, Northwest, Albuquerque, New Mexico.1 The

Court has set aside three (3) hours for this settlement conference. However, the Court expects

the participants to keep their schedules open the entire day of the conference so that they are

available to work through the noon hour and into the evening, if the Court deems it necessary.

Motions to reschedule the settlement conference must be filed no later than fourteen (14)

days before the date of the settlement conference. Motions to reschedule the settlement

conference filed after this date may be considered untimely in the Court’s discretion.




        1
           Counsel and parties are to go directly to the courtroom. Counsel are allowed to have cell phones,
including a cell phone with a camera. Clients and representatives are not allowed to have a cell phone, or any kind
of recording device.
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         Individually named parties must attend in person, unless excused by the Court upon

written request. Excused parties must be available by telephone throughout the day of the

conference. In the case of institutional parties, a designated representative, other than counsel of

record, with full and final settlement authority2 must attend in person. This requirement

cannot be satisfied by hiring a local representative. If the appropriate representative with full and

final authority resides in another state, he or she will be expected to make travel arrangements to

attend in person and be available for the entire day. Lead counsel who will try the case must also

attend in person. Those attending the settlement conference must treat as confidential the

information discussed, positions taken, and offers made by other participants in preparation for

and during the conference.3

         No later than Monday, January 8, 2018, Plaintiff4 shall serve on Defendant a written

settlement demand. If Plaintiff is claiming special damages — i.e., damages for pecuniary

losses, such as past medical expenses, lost wages, or property damages — Plaintiff’s written

settlement demand must itemize such special damages and state the exact dollar amount Plaintiff

is claiming for each category.




         2
            A representative with full and final settlement authority should have the power to make decisions up to
the amount of the opposing party’s most recent offer or counter-offer, although the Court does not expect the
representative to be prepared to pay that amount. If there is no single representative who can be vested with full and
final settlement authority, or if there is any other impediment to such a representative attending the settlement
conference, counsel is to include this information, with a brief explanation of the impediment at issue, in its
confidential position statement to the Court.

         3
           This does not prohibit disclosures stipulated to by the parties, necessary in proceedings to determine the
existence of a binding settlement agreement, or as otherwise required by law.
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             Herein, the terms “Plaintiff” and “Defendant” shall encompass both singular and plural meanings.


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       No later than Monday, February 12, 2018, Defendant shall serve on Plaintiff a written

counteroffer. If a release is contemplated, defense counsel shall include a proposed form of

release with its counteroffer. If Defendant disagrees with the amount of the special damages

Plaintiff has claimed, Defendant’s counteroffer must state the exact dollar amount Defendant

believes to be correct for each category. For example, if Plaintiff claims $1,000 in past medical

expenses, and Defendant believes the correct amount of past medical expenses is $500,

Defendant’s letter must clearly state that Plaintiff’s past medical expenses amount to $500. It is

insufficient to merely say, “Defendant disagrees that Plaintiff has $1,000 in past medical

expenses.” If there is any dispute about special damages, counsel will be required to do two

things. First, lead trial counsel for each party must meet in person or telephonically before the

settlement conference to try to resolve the dispute. Counsel are specifically instructed to talk to

one other; an exchange of emails or correspondence is insufficient. Second, if the dispute cannot

be resolved, lead trial counsel for each party must bring to the settlement conference all

documentation supporting his or her position on special damages, and be prepared to personally

argue this position. This duty cannot be delegated to an associate, party representative, or

insurance representative. The Court will expect each lead trial counsel to be prepared to present

his or her case on special damages.

       The parties’ written offer and counteroffer must be made in a good-faith effort to resolve

the litigation. If the parties have previously engaged in settlement negotiations, Plaintiff’s

written demand should generally be lower than Plaintiff’s most recent demand, and Defendant’s

counteroffer should generally be higher than Defendant’s most recent counteroffer.




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        Participants in a settlement conference must also be willing to engage in a good-faith

exchange of information. The parties are therefore encouraged to exchange position papers, no

later than the deadlines for exchanging their written demand and counteroffer, setting forth

evidence and legal principles that support their claims or defenses with a brief explanation of

why damages or other relief would or would not be warranted. The settlement conference is

intended to be a time-out from litigation and any position papers exchanged should be written to

educate the other side about areas of factual and legal agreement and disagreement. The tone of

these papers should not be litigious or inflammatory. The parties are encouraged to exchange

key records, reports and documentation supporting their positions with regard to liability and

damages to the extent not already exchanged in discovery. If settlement is not achieved before

the settlement conference, the parties must be prepared to engage in further good-faith

negotiations and exchange additional offers and counteroffers at the settlement conference.

        No later than Friday, February 16, 2018,5 each party must submit to the Court, in

confidence, a concise position statement (typically no more than 10 pages) containing a brief

summary of the facts and statement regarding its position on liability; an analysis of the

evidentiary and legal strengths and weaknesses of its case; status of discovery; identification of

any pending motions; an outline or itemization of damages or other relief requested; status of

settlement negotiations to date; and, the names of the individuals who will be attending the

conference and in what capacity. If a party has multiple insurance carriers providing potential

primary and/or excess coverage in the case, that party’s counsel must also address each carrier’s


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          Counsel will be required to attend a show cause hearing and may be assessed a sanction of up to $100 for
each day the position paper is late unless a timely written request for an extension is received and approved by the
Court.

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anticipated role, if any, in settlement negotiations. Parties are to attach their most recent written

settlement demand or counteroffer, as well as any position papers they have sent to the opposing

side, as addenda to their position statements to the Court. Position statements may be submitted

to the Court by facsimile at (505) 348-2345 or by e-mail at kkproposedtext@nmcourt.fed.us.

Furthermore, if any party has in its possession any video or audio recording of the incident upon

which this action is based, that party must submit a copy of the recording to the Court no later

than Friday, February 16, 2018.

        At the settlement conference the parties or their counsel may be asked to answer the

Court’s questions in an initial joint session. If any party has reservations about providing any

statement or answering questions in the presence of the opposing side, these concerns should be

raised in the confidential settlement letter to the Court.                  The majority of the settlement

conference will be conducted in confidential separate caucuses with each party and the party’s

attorney(s) and representative(s).

        The Court will conduct a telephonic pre-settlement conference on Thursday,

February 22, 2018, at 10:30 a.m. Counsel are to call Judge Khalsa’s “Meet Me” conference

line at (505) 348-2347 to connect to the proceedings.6 Prior to the pre-settlement conference,

counsel are directed to analyze and identify impediments to settlement, confer with their clients

and prepare them for the mediation, and assess any additional information or matters that need to

be addressed to the Court before the mediation. At the pre-settlement conference, counsel should

also be prepared to address: (1) who will attend the settlement conference, and provide a brief


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          The “Meet Me” conference line accepts no more than five (5) incoming telephone lines at a time.
Counsel are to coordinate with one another before the pre-settlement conference to ensure that no more than five (5)
incoming telephone lines are used.

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statement as to their roles/positions in the case; (2) whether participants will be traveling from

out of town to attend the conference; (3) in the case of institutional parties, whether settlement

authority will come from pre-settlement committee review and, if so, whether complete and

timely information has been obtained and provided to the committee so that appropriate authority

will have been granted; and, (4) whether any additional documentation is needed concerning

special damages claimed.

       The Court may also contact counsel ex parte after receipt of the parties’ position

statements and before the settlement conference to discuss the settlement conference.

       Please direct any inquiries to (505) 348-2340.

       IT IS THEREFORE ORDERED as follows:

Plaintiff’s demand letter due to Defendant:                 Monday, January 8, 2018

Defendant’s counteroffer letter due to
Plaintiff:                                                  Monday, February 12, 2018

Parties’ confidential position statements
due to the Court:                                           Friday, February 16, 2018

Pre-settlement conference:                                  Thursday, February 22, 2018,
                                                            at 10:30 a.m.

Settlement conference:                                      Tuesday, March 6, 2018,
                                                            at 9:30 a.m.

       IT IS SO ORDERED.



                                             _____________________________________
                                             KIRTAN KHALSA
                                             UNITED STATES MAGISTRATE JUDGE




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